         Case 1:18-cr-00723-PGG Document 245 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             -against-                                                 ORDER

LOREN PIQUANT,                                                    18 Cr. 723 (PGG)

                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               It is hereby ORDERED that the sentencing of Defendant Loren Piquant is

adjourned from November 18, 2020, to November 19, 2020 at 12:00 p.m. With Defendant’s

consent, sentencing will proceed by telephone.

               The parties are directed to dial 888-363-4749 to participate, and to enter the

access code 6212642. The press and public may obtain access to the telephone hearing by

dialing the same number and using the same access code. The parties should call in at the

scheduled time and wait on the line for their case to be called. At that time, the Court will un-

mute the parties’ lines. No later than November 15, 2020, the parties must email

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       November 6, 2020
